                         Case 1-20-42438-nhl               Doc 1        Filed 06/25/20            Entered 06/25/20 14:36:56



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

Case number (if known)                                                      Chapter       11
                                                                                                                               Check if this an amended
                                                                                                                               filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document,                                                            is available.


1.   Debtor's name                4202 Partners LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  c/o Pfeiffer 1450 37th St
                                  Brooklyn, NY 11218-3716
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  4202 Fort Hamilton Pkwy Brooklyn, NY
                                                                                                  11219-1236
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                         Case 1-20-42438-nhl                     Doc 1      Filed 06/25/20               Entered 06/25/20 14:36:56

Debtor    4202 Partners LLC                                                                             Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a small              Chapter 11. Check all that apply:
     business debtor must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     subchapter V of chapter 11                                   cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
     (whether or not the debtor is a                              procedure in 11 U.S.C. § 1116(1)(B).
      small business debtor ) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
     check the second sub-box.                                    (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                  under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                  sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                  documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                  Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against the
     debtor within the last 8             Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                    Case number
                                                 District                                  When                                    Case number

10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                                     Relationship
                                                 District                                  When                                Case number, if known



Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 2
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Debtor   4202 Partners LLC                                                                           Case number ( if known )
         Name


11. Why is the case filed in    Check all that apply:

                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .          Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                               1,000-5,000                                  25,001-50,000
    creditors                                                                          5001-10,000                                  50,001-100,000
                                    50-99
                                    100-199                                            10,001-25,000                                More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                       $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                    $50,001 - $100,000                                 $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                                $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                              $100,000,001 - $500 million                  More than $50 billion


16. Estimated liabilities           $0 - $50,000                                       $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                    $50,001 - $100,000                                 $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                                $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                              $100,000,001 - $500 million                  More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor    4202 Partners LLC                                                                               Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       June 24, 2020
                                                    MM / DD / YYYY


                                  /s/ Samuel Pfeiffer                                                            Samuel Pfeiffer
                                  Signature of authorized representative of debtor                               Printed name

                                  Title   Manager




18. Signature of attorney         /s/ Kevin J. Nash                                                                Date June 24, 2020
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  Kevin J. Nash
                                  Printed name

                                  Goldberg Weprin Finkel Goldstein LLP
                                  Firm name


                                  1501 Broadway 22nd Floor
                                  New York, NY 10036
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (212) 221-5700                  Email address         knash@gwfglaw.com

                                  Kevin J. Nash
                                  Bar number and State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     4202 Partners LLC                                                                  Case number ( if known )
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

Case number (if known)                                                    Chapter      11
                                                                                                                             Check if this an amended
                                                                                                                             filing




                                                        FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     175 Pulaski RLM                                                          Relationship to you                  Affiliate
District   New York Eastern                            When     7/21/19             Case number, if known                19-44445
Debtor     4218 Partners LLC                                                        Relationship to you                  Affiliate
District   New York Eastern                            When     7/21/19             Case number, if known                19-44444
Debtor     4202 Ki Tov LLC                                                          Relationship to you                  Affiliates
District   New York Eastern                            When     1/29/20             Case number, if known                20-40573




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 5
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    Fill in this information to identify the case:

Debtor name       4202 Partners LLC

United States Bankruptcy Court for the:      EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
      serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property(Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on        June 24, 2020                        /s/ Samuel Pfeiffer
                                                              Signature of individual signing on behalf of debtor

                                                              Samuel Pfeiffer
                                                              Printed name

                                                              Manager
                                                              Position or relationship to debtor
                            Case 1-20-42438-nhl                     Doc 1         Filed 06/25/20              Entered 06/25/20 14:36:56



        Fill in this information to identify the case:
 Debtor name 4202 Partners LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                                     Check if this is an
                                               YORK, BROOKLYN DIVISION
 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and            Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
 complete mailing address,       and email address of   (for example, trade debts,       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact       bank loans, professional        unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                        services, and government            disputed        value of collateral or setoff to calculate unsecured claim.
                                                        contracts)                                          Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 4202 Fort Hamilton                                                                                           $12,300,000.00              $6,500,000.00             $5,867,979.97
 Debt LLC
 c/o The Bluestone
 Group
 225 Broadway Fl 32
 New York, NY
 10007-3057
 Angel De La Rosa                                            Personal Injury           Unliquidated                                                                              $0.00
 c/o Gorayeb and                                                                       Disputed
 Associates P.C.
 100 William St Rm
 1900
 New York, NY
 10038-5017
 B&H Builders                                                                                                                                                                $500.00
 5308 13th Ave # 503
 Brooklyn, NY
 11219-3804
 Cycle Architect &                                                                                                                                                       $35,000.00
 Planning
 232 3rd St Ste C301
 Brooklyn, NY
 11215-2728
 Dept. of                                                                                                                                                                      $97.49
 Environmental
 Protection
 PO Box 11863
 Newark, NJ
 07101-8163
 NYC Dep't of                                                                          Unliquidated                                                                              $0.00
 Finance                                                                               Disputed
 Legal Affairs
 345 Adams St Fl 3
 Brooklyn, NY
 11201-3719




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    4202 Partners LLC                                                                                 Case number (if known)
           Name

 Name of creditor and            Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
 complete mailing address,       and email address of   (for example, trade debts,       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact       bank loans, professional        unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                        services, and government            disputed        value of collateral or setoff to calculate unsecured claim.
                                                        contracts)                                          Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 NYC Environmental                                                                     Unliquidated                                                                              $0.00
 Control Board                                                                         Disputed
 66 John St Fl 10
 New York, NY
 10038-3772
 Wifi Construction                                           Personal Injury           Unliquidated                                                                              $0.00
 LLc                                                                                   Disputed
 c/o Law Offices of
 Mordy Flam, PLLC
 266 E Broadway Apt
 B706
 New York, NY
 10002-2095




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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           Fill in this information to identify the case:

 Debtor name        4202 Partners LLC

 United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                           amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                          12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on                                                          (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
        Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                          Current value of
                                                                                                                            debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       No. Go to Part 7.
       Yes Fill in the information below.
Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                     page 1
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 Debtor         4202 Partners LLC                                                                 Case number (If known)
                Name




 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       No. Go to Part 8.
       Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

       No. Go to Part 9.
       Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

       No. Go to Part 10.
       Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                     Nature and extent     Net book value of      Valuation method used   Current value of
            property                                        of debtor's           debtor's interest      for current value       debtor's interest
            Include street address or other                 interest in           (Where available)
            description such as Assessor                    property
            Parcel Number (APN), and type of
            property (for example, acreage,
            factory, warehouse, apartment or
            office building, if available.
            55.1. 4202 Fort Hamilton
                     Pkwy, Brooklyn, NY
                     11219-1236                             Fee Simple                 $6,500,000.00                                     $6,500,000.00



 56.        Total of Part 9.                                                                                                          $6,500,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

       No. Go to Part 11.
       Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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 Debtor         4202 Partners LLC                                                          Case number (If known)
                Name




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property              page 3
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 Debtor           4202 Partners LLC                                                                                    Case number (If known)
                  Name



 Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                                Current value of                     Current value of real
                                                                                                      personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                       $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                            $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                                $0.00

 83. Investments. Copy line 17, Part 4.                                                                                        $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                          $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                 $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                     $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                 $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $6,500,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                             $0.00

 90. All other assets. Copy line 78, Part 11.                                                     +                            $0.00

 91. Total. Add lines 80 through 90 for each column                                                                        $0.00       + 91b.            $6,500,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $6,500,000.00




Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                         page 4
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           Fill in this information to identify the case:

 Debtor name         4202 Partners LLC

 United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number (if known)
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing

Official Form 206D
                                                                                                                                                             12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:     List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
       4202 Fort Hamilton Debt
 2.1                                                                                                                  $12,300,000.00              $6,500,000.00
       LLC                                           Describe debtor's property that is subject to a lien
       Creditor's Name                               4202 Fort Hamilton Pkwy, Brooklyn, NY
       c/o The Bluestone Group                       11219-1236
       225 Broadway Fl 32
       New York, NY 10007-3057
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                        No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                           No
       12/18/2017                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       1. NYC Department of
       Finance
       2. 4202 Fort Hamilton Debt
       LLC


 2.2
       NYC Department of
       Finance                                       Describe debtor's property that is subject to a lien                   $67,979.97            $6,500,000.00
       Creditor's Name                               4202 Fort Hamilton Pkwy, Brooklyn, NY
                                                     11219-1236
       PO Box 680
       Newark, NJ 07101-0680
       Creditor's mailing address                    Describe the lien
                                                     real property taxes
                                                     Is the creditor an insider or related party?
                                                        No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                           No
                                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor      4202 Partners LLC                                                                       Case number (if known)
             Name

       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       1. NYC Department of
       Finance
       2. 4202 Fort Hamilton Debt
       LLC

                                                                                                                              $12,367,979.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        97

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you    Last 4 digits of
                                                                                                               enter the related creditor?        account number for
                                                                                                                                                  this entity
        Kriss & Feuerstein LLP
        360 Lexington Ave Ste 1200                                                                           Line   2.1
        New York, NY 10017-6502




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    Fill in this information to identify the case:

 Debtor name         4202 Partners LLC

 United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
                    (Official Form 206A/B) and on                                                              (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
           Angel De La Rosa                                                      Contingent
           c/o Gorayeb and Associates P.C.                                       Unliquidated
           100 William St Rm 1900
                                                                                 Disputed
           New York, NY 10038-5017
           Date(s) debt was incurred                                         Basis for the claim:

           Last 4 digits of account number                                   Is the claim subject to offset?      No      Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $500.00
           B&H Builders                                                          Contingent
                                                                                 Unliquidated
           5308 13th Ave # 503                                                   Disputed
           Brooklyn, NY 11219-3804
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?      No      Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $35,000.00
           Cycle Architect & Planning                                            Contingent
                                                                                 Unliquidated
           232 3rd St Ste C301                                                   Disputed
           Brooklyn, NY 11215-2728
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?      No      Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $97.49
           Dept. of Environmental Protection                                     Contingent
                                                                                 Unliquidated
           PO Box 11863                                                          Disputed
           Newark, NJ 07101-8163
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?      No      Yes




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 2
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 Debtor       4202 Partners LLC                                                                      Case number (if known)
              Name

 3.5       Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                       $0.00
           NYC Dep't of Finance                                                Contingent
           Legal Affairs                                                       Unliquidated
           345 Adams St Fl 3
                                                                               Disputed
           Brooklyn, NY 11201-3719
           Date(s) debt was incurred                                       Basis for the claim:

           Last 4 digits of account number                                 Is the claim subject to offset?        No     Yes

 3.6       Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                       $0.00
           NYC Environmental Control Board                                     Contingent
                                                                               Unliquidated
           66 John St Fl 10
                                                                               Disputed
           New York, NY 10038-3772
           Date(s) debt was incurred                                       Basis for the claim:

           Last 4 digits of account number                                 Is the claim subject to offset?        No     Yes

 3.7       Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Wifi Construction LLc                                               Contingent
           c/o Law Offices of Mordy Flam, PLLC                                 Unliquidated
           266 E Broadway Apt B706
                                                                               Disputed
           New York, NY 10002-2095
           Date(s) debt was incurred                                       Basis for the claim:

           Last 4 digits of account number                                 Is the claim subject to offset?        No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                 On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                    related creditor (if any) listed?                  account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
 5a. Total claims from Part 1                                                                          5a.         $                            0.00
 5b. Total claims from Part 2                                                                          5b.    +    $                       35,597.49
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                               5c.         $                             35,597.49




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 2
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          Fill in this information to identify the case:

 Debtor name        4202 Partners LLC

 United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal   Property (Official
Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
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           Fill in this information to identify the case:

 Debtor name        4202 Partners LLC

 United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
      Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
      creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                          Column 2: Creditor


              Name                            Mailing Address                                     Name                            Check all schedules
                                                                                                                                  that apply:
     2.1     Abraham                           1358 53rd St                                       4202 Fort Hamilton                 D   2.1
             Pinchus Wieder                    Brooklyn, NY 11219-3822                            Debt LLC                           E/F
                                                                                                                                     G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 1
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            Fill in this information to identify the case:

 Debtor name            4202 Partners LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.                                                                                     (Official Form 206A/B)

       1a. Real property:
           Copy line 88 fromSchedule A/B.............................................................................................................................                   $        6,500,000.00

       1b. Total personal property:
           Copy line 91A fromSchedule A/B.........................................................................................................................                      $                    0.00

       1c. Total of all property:
           Copy line 92 fromSchedule A/B...........................................................................................................................                     $        6,500,000.00


 Part 2:      Summary of Liabilities


 2.                                                                        (Official Form 206D)
       Copy the total dollar amount listed in Column A,Amount of claim, from line 3 of Schedule D....................................                                                   $       12,367,979.97


 3.                                                                                           (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a ofSchedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                            Schedule E/F................................................
           Copy the total of the amount of claims from Part 2 from line 5b of                                                                                                          +$            35,597.49


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         12,403,577.46




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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